              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:13-cr-00079-MR-DLH


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
          vs.                    )              ORDER
                                 )
(2) GREGORY RAY DEHART;          )
(4) JEFFREY KIRKLAND;            )
(8) CARLOS ALVARADO MENDOZA; )
(10) JOHN LOUIS PIVONKA; and     )
(11) TOMMY RAY SISK,             )
                                 )
                   Defendants.   )
________________________________ )

      THIS MATTER is before the Court on the motions to continue filed by

Defendants Gregory Ray Dehart, Jeffrey Kirkland, Carlos Alvarado

Mendoza, and John Louis Pivonka [Docs. 129, 130, 131, 132]. Defendant

Tommy Ray Sisk moves to join in these motions to continue [Doc. 133].

      On December 3, 2013, the above-referenced Defendants were

charged along with several other co-defendants with, inter alia, conspiracy

to distribute and to possess with intent to distribute methamphetamine, in

violation of 21 U.S.C. §§ 841(a)(1) and 846. [Doc. 3]. These Defendants

are currently scheduled for trial during the May 7, 2014 trial term.




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      The Defendants now move for a continuance of the trial date, citing

the voluminous discovery produced and the need for additional time to

review that discovery and to prepare for trial. The Government does not

oppose the requested continuance.

      The Court finds that this case should be continued. If the requested

continuance were not granted, counsel would be denied “the reasonable

time necessary for effective preparation, taking into account the exercise of

due diligence.” 18 U.S.C. § 3161(h)(7)(B)(iv).

      For the reasons stated herein, the ends of justice served by the

granting of the continuance outweigh the best interest of the public and the

Defendants in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A).

      IT IS, THEREFORE, ORDERED that the Defendants’ motions [Docs.

129, 130, 131, 132, 133] are GRANTED, and Defendants Gregory Ray

Dehart, Jeffrey Kirkland, Carlos Alvarado Mendoza, John Louis Pivonka,

and Tommy Ray Sisk are hereby CONTINUED from the May 7, 2014 term

in the Asheville Division.

      IT IS SO ORDERED.             Signed: April 29, 2014




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